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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

GOLDEN HOME HEALTH CARE, LLC,
                                                  Case No. 2:20-cv-2954
                     Plaintiff,                   Judge Edmund A. Sargus, Jr.
v.                                                Magistrate Judge Chelsey M. Vascura

SEEMA VERMA in her official capacity as
ADMINISTRATOR OF THE CENTERS FOR
MEDICARE & MEDICAID SERVICES,
         &
MAUREEN M. CORCORAN in her official capacity as
DIRECTOR OF STATE OF OHIO DEPARTMENT OF MEDICAID,

                     Defendants.

                                          ORDER

       This matter came before the Court on August 3, 2020 for a status conference on

Plaintiff’s Motion for a Preliminary Injunction, at which all parties were represented. At

that conference the Court GRANTED Defendants’ Motion to File Surreply and

DENIED Defendants’ Motion to Strike. (ECF No. 20.) The Court will consider

Defendants’ Surreply in its consideration of Plaintiffs’ Motion for a Preliminary

Injunction, which all parties agree may be decided on brief. All parties agree that

testimony is unnecessary to the Court’s decision and no party has requested testimony. If

the Court has not issued its decision by the scheduled initial pretrial conference, that

conference will be rescheduled.

       IT IS SO ORDERED.


8/3/2020                                   s/Edmund A. Sargus, Jr.
DATE                                       EDMUND A. SARGUS, JR.
                                           UNITED STATES DISTRICT JUDGE
